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                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 FREE STATE OF BAVARIA, represented
 by THE UNIVERSITY OF WÜRZBURG,
                                                      Case No. 2:22-cv-02580
                 Plaintiff,
                                                      Judge Sarah D. Morrison
          v.
                                                      Magistrate Judge Chelsey M. Vascura
THE OHIO STATE UNIVERSITY, et al.

                 Defendants.


                 JOINT STIPULATION FOR EXTENSION OF TIME FOR
               BRIAN KASPAR, PH.D. TO RESPOND TO THE COMPLAINT


          Plaintiff Free State of Bavaria, represented by The University of Würzburg (hereinafter

“Plaintiff”) together with Defendant Brian Kaspar, Ph.D. (hereinafter “Defendant”), respectfully

request that this Court extend Defendant’s deadline to respond to the Complaint, as set forth below:

          1.     On June 22, 2022, Plaintiff filed the Complaint in the above-captioned matter. (ECF

No. 1.)

          2.     On July 22, 2022, counsel for Defendant, Andrew K. Walsh, was provided with a

copy of the Complaint and accepted service on Defendant’s behalf.

          3.     Pursuant to Civil Rule 12(a)(1)(A)(i), Defendant has 21 days after service of the

Summons and Complaint to answer or otherwise respond to the Complaint. Therefore, Defendant’s

deadline to answer is August 12, 2022.

          4.     Pursuant to Local Rule 6.1, the Parties may stipulate to extend Defendant’s deadline

in which to respond to the Complaint, and any such extension may not exceed 21 days.




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         5.     The Parties have stipulated to extend Defendant’s deadline to file an answer or

motion in response to the Complaint by 21 days, or until September 2, 2022. No prior stipulated

extensions have been provided to Defendant.

         WHEREFORE, Defendant respectfully requests this Court grant an extension for Defendant

to answer or otherwise respond to the Complaint until September 2, 2022.

         A proposed Order granting this stipulation is attached hereto for the Court’s convenience.

Respectfully submitted,

/s/ Andrew K. Walsh                                    /s/ Justin M. Croniser
Shawn J. Organ (0042052) -                             Justin M. Croniser (0079462)
       TRIAL ATTORNEY                                  HAHN LOESER & PARKS LLP
Ashley T. Merino (0096853)                             200 Public Square, Suite 2800
ORGAN LAW LLP                                          Cleveland, Ohio 44114
1330 Dublin Road                                       Phone: (216) 621-0150
Columbus, Ohio 43215                                   Fax: (216) 241-2824
Phone: (614) 481-0900                                  jcroniser@hahnlaw.com
Fax: (614) 481-0904
sjorgan@organlegal.com                                 Adam Sims (0093474)
amerino@organlegal.com                                 HAHN LOESER & PARKS LLP
                                                       265 E. State Street, Suite 1400
Andrew K. Walsh                                        Columbus, Ohio 43215
(pro hac vice motion forthcoming)                      Phone: (614) 453-7104
Philip A. Mayer                                        Fax: (614) 453-7105
(pro hac vice motion forthcoming)                      asims@hahnlaw.com
HUESTON HENNIGAN LLP
523 West 6th St Suite 400                              Joseph V. Saphia – TRIAL ATTORNEY
Los Angeles, CA 90014                                  (admitted pro hac vice)
Phone: (213) 788-4340                                  Jessica H. Zafonte (admitted pro hac vice)
awalsh@hueston.com                                     CHIESA, SHAHINIAN &
pmayer@hueston.com                                     GIANTOMASI P.C.
                                                       11 Times Square, 34th Floor
Attorneys for Defendant Brian Kaspar, Ph.D.            New York, New York 10036
                                                       Phone: (212) 973-0572
                                                       jsaphia@csglaw.com
                                                       jzafonte@csglaw.com

                                                       Attorneys for Plaintiff
                                                       Free State of Bavaria, represented by
                                                       The University of Würzburg


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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 9th day of August, 2022, the foregoing was filed using the

Court’s CM/ECF filing system and that by virtue of same, notification was electronically served on

all counsel of record and for all parties not represented, I mailed a copy via U.S. Mail, postage

prepaid, on said date.


                                                      /s/ Justin M. Croniser
                                                      One of the Attorneys for Plaintiff




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